                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:05-cr-00104-W
 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
         vs.                                         )                    NOTICE
                                                     )
 GABRIEL ROMERO,                                     )
                                                     )
                Defendant.                           )
                                                     )

       TAKE NOTICE that this matter has been set for hearing on the pro se petition of Inez
Romero (Doc. No. 461) before the undersigned United States District Judge, to be held at 2:00 p.m.
on Thursday, April 10, 2008, in Courtroom #1 of the Charles R. Jonas Federal Building in
Charlotte, North Carolina. Pursuant to 21 U.S.C. § 853(n)(6), Ms. Romero, as petitioner, shall be
prepared to establish by a preponderance of the evidence that:
       (A) the petitioner has a legal right, title, or interest in the property, and such right, title, or
       interest renders the order of forfeiture invalid in whole or in part because the right, title,
       or interest was vested in the petitioner rather than the defendant or was superior to any
       right, title, or interest of the defendant at the time of the commission of the acts which
       gave rise to the forfeiture of the property under this section; or
       (B) the petitioner is a bona fide purchaser for value of the right, title, or interest in the
       property and was at the time of purchase reasonably without cause to believe that the
       property was subject to forfeiture under this section;

       The Clerk is directed to send a copy of this notice to counsel of record, including AUSA
William A. Brafford, and to Inez Romero, 16 North Kellogg Street, Kennewick, Washington, 99336,
which is her address of record in this matter.

                                                  Signed: February 29, 2008




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